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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

                                         )
  AMAZON.COM, INC. and AMAZON DATA )
  SERVICES,                              )
                                         )
              Plaintiffs,                )
                                         )
                      v.                 )            Civil Action No. 1:20-cv-484 (RDA/TCB)
                                         )
  WDC HOLDINGS, LLC, d/b/a NORTHSTAR )
  COMMERCIAL PARTNERS, et al.,           )
                                         )
              Defendants.                )
  ______________________________________ )

                                              ORDER

          This matter came before the Court pursuant to Plaintiff’s Motion for Determination that

  Certain Documents and Information are not Protected by Attorney-Client or Work Product

  Privileges (Doc. 1028). Plaintiffs’ later filed a motion to withdraw such motion (Dkt. 1047)

  therefore, it is hereby

          ORDERED that the Courts Order entered on October 3, 2022 (Dkt. 1060) is hereby

  vacated and shall be removed from the docket.

          ENTERED this 11th day of October 2022.




                                                                 /S/
                                               THERESA CARROLL BUCHANAN
                                               UNITED STATES MAGISTRATE JUDGE

  Alexandria, Virginia
